            Case 2:15-cr-00131-TLN Document 401 Filed 10/15/18 Page 1 of 2


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4
     Attorney for Defendant
5    SHANNON ARMSTRONG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-131-TLN
10                                           )
                          Plaintiff,         )   STIPULATION AND ORDER
11                                           )
     vs.                                     )   Date: January 31, 2019
12                                           )   Time: 9:30 a.m.
     SHANNON ARMSTRONG,                      )   Judge: Honorable Troy L. Nunley
13                                           )
                          Defendant.         )
14                                           )

15

16         Sentencing in this matter is presently set for October 25, 2018.

17   Counsel for the defendant requests the Judgment and Sentencing be continued

18   to January 31, 2019 at 9:30 a.m.     Assistant United States Attorney Samuel

19   Wong and United States Probation Officer Anthony Andrews have been advised of

20   this request and have no objection.

21         The defense requests the Court adopt the following schedule

22   pertaining to the presentence report:
23            Judgment and Sentencing date:                          1/31/19
24
              Reply, or Statement of Non-Opposition:                 1/24/19
25
              Motion for Correction of the Presentence
26            Report Shall be filed with the Court and
              served on the Probation Officer and
27            opposing counsel no later than:                        12/13/18

28            The Presentence Report shall be filed
            Case 2:15-cr-00131-TLN Document 401 Filed 10/15/18 Page 2 of 2


1             with the Court And disclosed to counsel
              no later than:                                           n/a
2
              Counsel’s written objections to the
3
              Presentence Report Shall be delivered
4
              to the probation officer and opposing
              Counsel no later than:                                   n/a
5
              The Presentence Report shall be filed
6             with the Court And disclosed to counsel
              no later than:                                           n/a
7

8
     Dated: October 12, 2018                      /S/ John R. Manning
9                                                 JOHN R. MANNING
                                                  Attorney for Defendant
10                                                Shannon Armstrong
11
     Dated: October 18, 2018                      McGregor W. Scott
12                                                United States Attorney
13                                                by: /S/ Samuel Wong
                                                  SAMUEL WONG
14                                                Assistant United States Attorney
15

16                                        ORDER
17   IT IS SO FOUND AND ORDERED this 15th day of October, 2018.
18

19

20

21
                                                     Troy L. Nunley
22                                                   United States District Judge
23

24

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